19 F.3d 10
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James C. ALFORD, Petitioner,v.DOMINION COAL CORPORATION;  Director, Office of Workers'Compensation Programs, United States Department ofLabor, Respondents.
    No. 93-1938.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 20, 1993.Decided March 1, 1994.
    
      On Petition for Review of an Order of the Benefits Review Board.  (91-1457-BLA)
      James C. Alford, pro se.
      Mark Elliott Solomons, Laura Metcoff Klaus, Arter &amp; Hadden, Washington, DC;  Barbara J. Johnson, U.S. Dept. of Labor, Washington, DC, for respondents.
      Ben.Rev.Bd.
      AFFIRMED.
      Before WILKINSON and NIEMEYER, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C.A. Secs. 901-945 (West 1986 &amp; Supp.1993).  Our review of the record discloses that the Board's decision is based upon substantial evidence and that this appeal is without merit.  Accordingly, we affirm on the reasoning of the Board.  Alford v. Dominion Coal Corp., No. 91-1457-BLA (B.R.B. May 27, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    